            Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 1 of 10




                         UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 ROBERT JAHODA and MATTHEW
 KOLESAR,                                                  Case No. 2:21-cv-161

                        Plaintiffs,

        v.


 EPIX ENTERTAINMENT, LLC,

                        Defendant.


                                          COMPLAINT

       Plaintiffs Robert Jahoda and Matthew Kolesar (collectively, “Plaintiffs”), through their

undersigned counsel, bring this complaint against Defendant EPIX Entertainment, LLC

(“Defendant”), and assert as follows:

                                        INTRODUCTION

       1.       Plaintiffs bring this action against Defendant under Title III of the Americans with

Disabilities Act (the “ADA”), 42 U.S.C. § 12101 et seq. and its implementing regulations, in

connection with Defendant’s failure to offer blind patrons the full and equal enjoyment of its on-

demand streaming entertainment services.

       2.       Defendant offers consumers on-demand video streaming services through its TV

channel, website, and mobile application, EPIX, where consumers can access a library of TV

shows and movies to watch at their leisure.

       3.       Defendant is responsible for its policies, practices, and procedures concerning its

streaming services’ development and maintenance.
            Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 2 of 10




       4.       Defendant, however, fails to offer audio description tracks – an audio track that

blind and visually impaired people need access to in order to experience the exclusively visual

portions of the show or movie enjoyed by consumers without visual impairments – with its video

content.

       5.       Plaintiffs are individuals with visual disabilities who, at all times relevant for

purposes of this action, have been legally disabled as defined by the ADA, 42 U.S.C. § 12102(2).

       6.       Plaintiffs and others with visual disabilities who want to enjoy on-demand videos

with audio descriptions must use streaming services other than Defendant’s.

       7.       Although audio descriptions are widely available for TV shows and movies,

Defendant refuses to make those audio descriptions available to its consumers through its on-

demand streaming services.

       8.       Because customers with visual disabilities cannot equally enjoy the TV shows or

movies without audio descriptions like sighted customers, Defendant deprives them of the same

options, privileges, and advantages that it offers to people who can see.

       9.       Plaintiffs seek the following declaratory and injunctive relief: (1) a declaration that

Defendant’s lack of audio descriptions violates the ADA as described in this complaint; and, (2)

an injunction requiring Defendant to provide audio descriptions and a mechanism to choose audio

descriptions for its on-demand streaming services so that it is fully and independently accessible

to blind or other vision-impaired individuals.




                                                  2
             Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 3 of 10




                                  JURISDICTION AND VENUE

          10.    This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and

42 U.S.C. § 12188.

          11.    Plaintiffs’ claims asserted in this complaint arose in this judicial district, and

Defendant does substantial business in this judicial district.

          12.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is

the judicial district in which a substantial part of the events and/or omissions at issue occurred.

                                              PARTIES

          13.    Plaintiff Robert Jahoda is and, at all times relevant hereto, was a resident of

this District. Plaintiff is legally blind and is therefore a member of a protected class under the

ADA, 42 U.S.C. § 12102(2) and the regulations implementing the ADA set forth at 28 CFR §§

36.101 et seq. Mr. Jahoda knows that audio descriptions are not available through Defendant’s

streaming services. He has not subscribed to EPIX, as he knows trying to use the services would

be futile.

          14.    Plaintiff Matthew Kolesar is and, at all times relevant hereto, was a resident of this

District. Plaintiff is legally blind and is therefore a member of a protected class under the ADA,

42 U.S.C. § 12102(2) and the regulations implementing the ADA set forth at 28 CFR §§ 36.101,

et seq. Mr. Kolesar knows that audio descriptions are not available through Defendant’s streaming

services. He has not subscribed to EPIX because he knows trying to use the services would be

futile.

          15.    Defendant EPIX Entertainment, LLC, owns and operates a television network and

streaming service in the United States with its headquarters in New York, New York.




                                                   3
            Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 4 of 10




                                   FACTUAL ALLEGATIONS

         16.     Defendant offers digital video-streaming services to millions of Americans through

its platform, EPIX.

         17.     Through EPIX’s streaming services, users have “[i]nstant access to acclaimed

original series and specials, plus hit Hollywood movies.” 1

         18.     Users can watch EPIX live or browse EPIX’s vast video selection, pick which one

to stream, and start watching in the comfort of their own home within a matter of minutes.

         19.     In order to have access to and stream the content offered through EPIX’s streaming

service, customers can add EPIX to their current cable provider subscription or purchase EPIX

through authorized third-party providers such as Apple TV or Amazon Prime.

         20.     EPIX’s content can be accessed for $5.99 per month if through the EPIX

application, or a monthly fee that varies if adding to a cable provider or third-party provider. 2

         21.     EPIX users can access the streaming services through different web browsers,

mobile or tablet devices, TVs, and streaming devices.

         22.     Though Defendant may have centralized policies regarding the maintenance and

operation of its streaming service, Defendant has never had a plan or policy that is reasonably

calculated to make its streaming service fully accessible to, and independently usable by,

individuals with visual disabilities.

         23.     EPIX’s blind and visually impaired users and potential users do not have full access

to EPIX’s video-streaming service because EPIX does not provide audio description tracks for

video content provided on its platform.




1
    https://www.epix.com/get-epix (last accessed February 1, 2021).
2
    Id.


                                                  4
          Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 5 of 10




       24.     Audio description is an auxiliary aid that allows blind and visually impaired people

to have a full audio-visual experience. 3 It is an audio track that narrates the key visual elements of

video content so that blind and visually impaired people can experience significant actions and

text-based information provided. Audio descriptions provide, for example, descriptions of scenes,

settings, costumes, body language, and other non-verbal cues that would otherwise be missed by

a person who is blind or visually impaired, but can be seen by those without visual impairment.

       25.     Similar to closed captioning and subtitles, video providers offer audio description

tracks as an option for the consumer to select during a TV show or movie.

       26.     EPIX does not provide audio description tracks as an option for its users.

       27.     Because EPIX does not provide audio description tracks, Plaintiffs have not signed

up for its streaming service that they otherwise would be able to enjoy.

       28.     Plaintiffs are frustrated that Defendant denies them and other customers with visual

disabilities the same convenience of streaming TV shows and movies as is provided to customers

without visual disabilities.

       29.     This technology is not novel or unique. Netflix, Amazon Prime, and Hulu are just

a few examples of streaming services that offer audio descriptions for their content.

       30.     EPIX has the ability to provide audio descriptions but chooses not to. Indeed, at the

time this complaint was drafted, the movies Addams Family, The Avengers, and Bumblebee were

among the titles available to stream over EPIX and Amazon Prime. All had audio description on

Prime. None had audio description on EPIX.




3
 Congress defined auxiliary aids and services to include “…taped texts, or other effective methods
of making visually delivered materials available to individuals with visual impairments[.]”
42 U.S.C. § 12103(1)(B).

                                                  5
            Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 6 of 10




       31.      Pursuant to the Twenty-First Century Communications and Video Accessibility

Act of 2010 (“CVAA”), many television channels are required to provide audio description for a

certain number of hours of prime-time content. See 47 C.F.R. § 79.3. Major production studios

also now provide audio description tracks for wide-released features, which are distributed with

the film.

       32.      Despite there being audio description tracks available for much of the content that

EPIX has in its on-demand library, EPIX fails to provide such audio description tracks to its users.

       33.      Plaintiffs seek the same full and equal access to Defendant’s on-demand streaming

content in the same manner that Defendant affords to people without vision loss.

       34.      Absent the relief requested in this matter, Plaintiffs and individuals with visual

disabilities will continue to be denied full and equal enjoyment of Defendant’s streaming services.

                                  SUBSTANTIVE VIOLATION

                          Title III of the ADA, 42 U.S.C. § 12181 et seq.

       35.      The allegations set forth in the previous paragraphs are incorporated by reference.

       36.      Defendant’s on-demand streaming platform is a place of public accommodation as

defined by the ADA because it is, or is a part of, a “place of exhibition or entertainment,” a “sales

or rental establishment,” a “service establishment,” a “library,” a “gallery,” and/or a “place of

public display or collection.” 28 C.F.R. § 36.104; 42 U.S.C. § 12181(7), and Defendant owns,

operates, and controls the streaming platform. See Gniewkowski v. Lettuce Entertain You Enter.,

251 F. Supp. 3d 908 (W.D. Pa. 2017); see also West v. Docusign, Inc., 2019 WL 3843054 (W.D.

Pa. 2019).

       37.      Pursuant to Title III, “[n]o individual shall be discriminated against on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,




                                                  6
          Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 7 of 10




or accommodations of any place of public accommodation by any person who owns, leases (or

leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).

       38.     Title III of the ADA imposes statutory and regulatory requirements to ensure

persons with disabilities are not excluded, denied services, segregated or otherwise treated

differently than other individuals as a result of the absence of auxiliary aids and services. 42 U.S.C.

§ 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public accommodations

must furnish appropriate auxiliary aids and services that comply with their effective

communication obligations. Id.

       39.     Thus, to the extent Defendant does not provide Plaintiffs with appropriate auxiliary

aids or full and equal access to its on-demand streaming services, it has violated the ADA.

       40.     Auxiliary aids and services include “effective methods of making visually delivered

materials available to individuals with visual impairments” such as audio description tracks. 42

U.S.C. § 12103(1)(B); see also 28 C.F.R. Part 36, Appendix C, Section 36.303 (noting that audio

description services “may be considered appropriate auxiliary aids and services”).

       41.     In order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and independence of the

individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the Ninth Circuit has

explained, “assistive technology is not frozen in time: as technology advances, [ ] accommodations

should advance as well.” Enyart v. Nat'l Conference of Bar Examiners, Inc., 630 F.3d 1153, 1163

(9th Cir. 2011).

       42.     By failing to provide its on-demand entertainment content and services in a manner

that is compatible with auxiliary aids, Defendant has engaged, directly, or through contractual,




                                                  7
           Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 8 of 10




licensing, or other arrangements, in illegal disability discrimination, as defined by Title III,

including without limitation:

              a) denying individuals with visual disabilities opportunities to participate in and

                 benefit from the goods, content, and services available through its on-demand

                 streaming services;

              b) affording individuals with visual disabilities access to its on-demand streaming

                 services that is not equal to, or as effective as, that afforded to others;

              c) utilizing methods of administration that (i) have the effect of discriminating on the

                 basis of disability; or (ii) perpetuate the discrimination of others who are subject to

                 common administrative control;

              d) denying individuals with visual disabilities effective communication, thereby

                 excluding or otherwise treating them differently than others; and/or

              e) failing to make reasonable modifications in policies, practices, or procedures where

                 necessary to afford its services, privileges, advantages, or accommodations to

                 individuals with visual disabilities.

        43.      Defendant has discriminated, and continues to discriminate, against Plaintiffs by

failing to provide auxiliary aids and services such as audio descriptions and not making its

streaming services fully accessible to, and independently usable by, individuals with visual

disabilities.

        44.      Because of Defendant’s denial of full and equal access to blind or visually impaired

users, Plaintiffs have not signed up for or been able to enjoy EPIX’s streaming services.

        45.      Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction will continue to cause, harm to Plaintiffs and other individuals with visual disabilities.




                                                    8
          Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 9 of 10




       46.     Plaintiffs’ claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

       47.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiffs request relief as set forth below.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request relief as follows:

                         a.    A Declaratory Judgment that at the commencement of this action

               Defendant was in violation of the specific requirements of Title III of the ADA

               described above, and the relevant implementing regulations of the ADA, in that

               Defendant took no action that was reasonably calculated to ensure that its streaming

               service is fully accessible to, and independently usable by, individuals with visual

               disabilities;

                         b.    A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28

               CFR § 36.504(a) which directs Defendant to take all steps necessary to bring its

               streaming service into full compliance with the requirements set forth in the ADA,

               and its implementing regulations, so that its streaming service is fully accessible to,

               and independently usable by, blind individuals, and which further directs that the

               Court shall retain jurisdiction for a period to be determined to ensure that Defendant

               has adopted and is following an institutional policy that will in fact cause it to

               remain fully in compliance with the law;

                         c.    Payment of actual, statutory, and other damages, as the Court deems

               proper;

                         d.    Payment of costs of suit;




                                                  9
        Case 2:21-cv-00161-RJC Document 1 Filed 02/01/21 Page 10 of 10




                    e.      Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. §

             12205 and 28 CFR § 36.505, including costs of monitoring Defendant’s compliance

             with the judgment. See People Against Police Violence v. City of Pittsburgh, 520

             F.3d 226, 235 (3d Cir. 2008) (“This Court, like other Courts of Appeals, allows fees

             to be awarded for monitoring and enforcing Court orders and judgments.”); see also

             Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv01898-

             AJS (W.D. Pa. Jan. 11, 2018) (ECF 191); see also Access Now, Inc. v. Lax World,

             LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11);

                    f.      Whatever other relief the Court deems just, equitable, and

             appropriate; and

                    g.      An Order retaining jurisdiction over this case until Defendant has

             complied with the Court’s Orders.


Dated: February 1, 2021                            Respectfully Submitted,


                                                   By: /s/ R. Bruce Carlson
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                                              10
